Case 1:11-cv-00191-MSK-MJW Document 7 Filed 03/10/11 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-cv-00191-MSK-MJW

  MICHELLE BIGLEN,

        Plaintiff,

  v.

  NCO FINANCIAL SYSTEMS INC.,

        Defendant.
  ______________________________________________________________________________
                       NOTICE OF ENTRY OF APPEARANCE
  ______________________________________________________________________________

        LOUIS LEONARD GALVIS of the law firm SESSIONS, FISHMAN, NATHAN &

  ISRAEL, LLC, hereby enters his appearance as counsel on behalf of Defendants NCO

  FINANCIAL SYSTEMS, INC.


  Dated: March 10, 2011.                 Respectfully submitted,

                                         s/ Louis Leonard Galvis
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                                         NCO Financial Systems, Inc.
Case 1:11-cv-00191-MSK-MJW Document 7 Filed 03/10/11 USDC Colorado Page 2 of 2




                               CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on March 10, 2011 I electronically filed a true and exact

  copy of the above and foregoing NOTICE OF ENTRY OF APPEARANCE with the Clerk of

  Court using the CM/ECF system which will send notification of such filing to the following

  email addresses:

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